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[Proposed] Lead Counsel for Lead Plaintiff and the Class

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


KEYLA D. BELL, Individually and On             No.: 2:21-cv-13543-KM-MAH
Behalf of All Others Similarly Situated,
                                               NOTICE OF MOTION OF KEYLA
            Plaintiff,                         BELL TO: (1) APPOINT LEAD
                                               PLAINTIFF; AND (2) APPROVE
            vs.                                LEAD PLAINTIFF’S SELECTION
                                               OF COUNSEL
KANZHUN LIMITED, PENG ZHAO, YU
ZHANG, XU CHEN, AND TAO ZHANG, CLASS ACTION

            Defendants.                        Motion Date: October 4, 2021




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      PLEASE TAKE NOTICE that pursuant to Section 21D of the Securities and

Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private

Securities Litigation Reform Act of 1995 (the “PSLRA”), Plaintiff Keyla Bell

(“Movant”), hereby moves the Honorable Kevin McNulty, United States District

Judge, Martin Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark,

New Jersey, 07102, appointing Movant to serve as Lead Plaintiff in this action and

approving his selection of The Rosen Law Firm, P.A. as Lead Counsel for the

litigation and all subsequently filed related litigations.

      In support of this Motion, Movant submits: (1) the Declaration of Laurence M.

Rosen, dated September 10, 2021 (with exhibits); (2) Memorandum of Law in support

of Motion, dated September 10, 2021; and (3) a [Proposed] Order.



Dated: September 10, 2021                Respectfully submitted,

                                         THE ROSEN LAW FIRM, P.A.

                                         /s/ Laurence M. Rosen
                                         Laurence M. Rosen, Esq.
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                                         [Proposed] Lead Counsel for Lead Plaintiff
                                         and the Class



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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of September 2021, a true and correct copy
of the foregoing document was served by CM/ECF to the parties registered to the
Court’s CM/ECF system.

                                /s/ Laurence M. Rosen




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